
67 So.3d 1236 (2011)
STATE of Louisiana
v.
Felix LEWIS.
No. 2011-KK-1607.
Supreme Court of Louisiana.
August 8, 2011.
Writ granted. Defendant's motion, although styled a "Motion to Correct Illegal Sentence/Motion for Order of Specific Performance of Plea Agreement," is in fact a petition for post-conviction relief, which the trial court granted. Defendant's motion was filed twelve years after his conviction and sentence became final and is time barred pursuant to the provisions of La. C.Cr.P. art. 930.8. Accordingly, the ruling of the trial court is reversed and vacated and defendant's motion is hereby denied.
JOHNSON, J., would deny.
